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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                             :
                                                     :
       v.                                            :       Case No. 21-cr-26 (CRC)
                                                     :
CHRISTOPHER MICHAEL ALBERTS,                         :
                                                     :
       Defendant.                                    :

      DEFENDANT CHRISTOPHER MICHAEL ALBERTS’S REPLY TO THE
    GOVERNMENT’S OPPOSITION TO DEFENDANT’S MOTION TO CONTINUE

       COMES NOW, the Defendant, Christopher Michael Alberts (“Alberts”), with this reply

to the Government’s opposition to Alberts’s motion to continue.

       As mentioned in the Unopposed Motion for Two-Week Continuance of Trial, ECF No.

94, Mr. Pierce’s main researcher is Emily Lambert. Ms. Lambert has become severely ill with

flu-like / COVID-19 symptoms, and she has been unable to conduct the extensive research and

discovery review that she is typically able to perform.

       The government correctly acknowledges that Mr. Pierce is scheduled to proceed to trial

on April 10, 2023, in United States v. Michael Gianos, No. 1:22-cr-74 (2) (JMC). However, Mr.

Pierce is in the process of adding an attorney to the firm who will be prepared to handle the

misdemeanor Gianos case if it proceeds to trial, so that Mr. Pierce will be available for Mr.

Alberts’s trial on April 11, 2023.

Dated: January 23, 2023                                             Respectfully Submitted,
                                                                    /s/ John M. Pierce
                                                                    John M. Pierce
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                                CERTIFICATE OF SERVICE


       I hereby certify that, on January 23, 2023, this reply was filed via the Court’s electronic

filing system, which constitutes service upon all counsel of record.

                                                             /s/ John M. Pierce
                                                             John M. Pierce
